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                                                    U.S. Department of Justice

                                                    United States Attorney
                                                    Southern District of New York


                                                    The Jacob K. Javits Federal Building
                                                    26 Federal Plaza, 37th Floor
                                                    New York, New York 10278


                                                    March 9, 2024

BY ECF

The Honorable Sidney H. Stein
United States District Judge
Southern District of New York
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street
New York, New York 10007

       Re:    United States v. Robert Menendez, et al.,
              S4 23 Cr. 490 (SHS)

Dear Judge Stein:

        The Government respectfully writes in the above-captioned matter in opposition to
defendant Robert Menendez’s letter motion seeking to compel the Government to collect
documents not in the possession of the prosecution team regarding the recusal of the individual
referred to in the S4 Superseding Indictment (the “Indictment”) as “Official-3” from the
prosecution of Fred Daibes. (Dkt. 229 (“Def. Ltr.”)). This motion is foreclosed by well-settled
law and seeks documents that are neither exculpatory nor material to the defense.

       I.     The Indictment and the Requested Documents

        The Indictment charges the defendants with corruption offenses related to, among other
things, Menendez’s promises and attempts—in exchange for cash, gold bars, and other things of
value—to disrupt the federal prosecution of Daibes being conducted by the U.S. Attorney’s Office
for the District of New Jersey. (Indictment ¶¶ 45-46).

       One of the means by which Menendez is alleged to have promised and attempted to disrupt
the prosecution was by seeking and recommending the appointment of a U.S. Attorney who
Menendez and Daibes thought could be influenced by Menendez. In pursuit of this goal,
Menendez met with a candidate for that position (referred to in the Indictment as the “Candidate”
before his appointment and “Official-3” after), and asked him to “look into” Daibes’s prosecution
if he became U.S. Attorney. (Indictment ¶ 47). After the meeting, the Candidate advised
Menendez that he might have to recuse himself from that prosecution “as a result of a matter he
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had handled in private practice” involving Daibes. (Id.). Menendez subsequently informed the
Candidate that Menendez would recommend a different individual for the position (id.), but
following the publication of news articles critical of that other individual, the Candidate spoke to
an outside political advisor of Menendez (the “Advisor”) and discussed the possibility of the
Candidate recusing from the prosecution (id. ¶ 49). Subsequently, the Advisor informed
Menendez that the Advisor believed that the Candidate would likely not have to recuse from the
prosecution of Daibes. (Id.). The Candidate was subsequently confirmed as U.S. Attorney and,
“on the basis of information that Official-3 [i.e., formerly the Candidate] provided to the U.S.
Department of Justice to determine whether a recusal was warranted, Official-3 was informed that
Official-3 was recused from the prosecution” of Daibes. (Id. ¶ 53). Menendez subsequently
directed the Advisor to ask Official-3 why he had recused himself from the prosecution of Daibes,
when Menendez had previously believed that he would not recuse himself (id. ¶ 53.f), and asked
the Advisor to tell Official-3 to give Daibes “all due process” despite Official-3’s recusal (id.
¶ 53.g).

       Menendez now seeks an order compelling the Government to obtain correspondence, if
any, exchanged between Official-3 and Department of Justice officials in Washington, D.C.
regarding whether Official-3 should recuse himself from the prosecution of Daibes. (Def. Ltr. 1-
2). 1

       II.     The Requested Documents are Not in the Possession of the Prosecution Team

        Menendez requests an order that the Government obtain (to the extent it exists) and then
furnish him with correspondence between another U.S. Attorney’s Office and employees in the
Department of Justice headquarters regarding the recusal of that U.S. Attorney from another case.
This request seeks materials that are outside of the possession of the prosecution team, and
therefore not discoverable in this case.

        The disclosure obligations set forth in Federal Rule of Criminal Procedure 16, Brady, and
Giglio apply to materials in the Government’s “possession.” As a general matter, although “[a]n
individual prosecutor is presumed . . . to have knowledge of all information gathered in connection
with his office’s investigation of the case[,] . . . knowledge on the part of persons employed by a
different office of the government does not in all instances warrant the imputation of knowledge
to the prosecutor.” United States v. Avellino, 136 F.3d 249, 255 (2d Cir. 1998) (citations omitted);
see also United States v. Locascio, 6 F.3d 924, 948-49 (2d Cir. 1993) (declining to “infer the
prosecutors’ knowledge simply because some other government agents knew about” additional
evidence where federal prosecutors were unaware of documents in possession of Federal Bureau
of Investigation (“FBI”) agents who were “uninvolved in the investigation or trial of the
defendants”); United States v. Quinn, 445 F.2d 940, 944 (2d Cir. 1971) (declining to impute

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   Menendez’s claim that the Indictment “specifically referenced” a supposed “recusal
memorandum to DOJ’s headquarters” (Def. Ltr. 1) is demonstrably incorrect. The Indictment
refers only to “information,” not to a memorandum or any specific document(s), much less one(s)
sent to a particular office. (Indictment ¶ 53).
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knowledge of prosecutor in Florida to prosecutor in New York and noting that the “Department of
Justice alone has thousands of employees”). This is so for very good reason. The imposition of
“an unlimited duty on a prosecutor to inquire of other offices not working with the prosecutor’s
office on the case in question would inappropriately require [courts] to adopt ‘a monolithic view
of government’ that would ‘condemn the prosecution of criminal cases to a state of paralysis.’”
Avellino, 136 F.3d at 255 (quoting United States v. Gambino, 835 F. Supp. 74, 95 (E.D.N.Y.
1993)). Thus, discovery and disclosure obligations only extend to “information known to persons
who are a part of the ‘prosecution team’ . . . who perform investigative duties or make strategic
decisions about the prosecution of the case,” including “police officers and federal agents who
submit to the direction of the prosecutor and participate in the investigation.” United States v.
Barcelo, 628 F. App’x 36, 38 (2d Cir. 2015) (quoting United States v. Stewart, 433 F.3d 273, 298
(2d Cir. 2006)).

        In considering whether Rule 16 and other disclosure obligations apply to records in the
possession of another government agency or component of a government, a prosecutor’s duty
extends to obtaining and reviewing such records only where the Government conducts a “joint
investigation” with that agency or component of government. See, e.g., United States v.
Middendorf, No. 18 Cr. 36 (JPO), 2018 WL 3956494, at *4-5 (S.D.N.Y. Aug. 17, 2018) (no joint
investigation between Government, Public Company Accounting Oversight Board (“PCAOB”)
and Securities and Exchange Commission (“SEC”) where PCAOB was not involved in witness
interviews or developing prosecutorial strategy, and SEC was not involved in the grand jury
presentation, reviewing the fruits of the Government’s investigation, or developing prosecutorial
strategy); United States v. Collins, 409 F. Supp. 3d 228, 241-43 (S.D.N.Y. 2019) (no joint
investigation between U.S. Attorney’s Office and SEC where the two entities conducted a small
number of joint interviews and engaged in limited sharing of information with each other); United
States v. Finnerty, 411 F. Supp. 2d 428, 433 (S.D.N.Y. 2006) (no joint investigation between
Government and New York Stock Exchange (“NYSE”) where documents sought were “the
product of an investigation that was undertaken by the NYSE of its own practices, and there [wa]s
no suggestion that the Government participated in that investigation”).

        Moreover, the involvement of agents from one component of an agency in an investigation
does not render the entirety of that agency, or components thereof, part of the prosecution team.
See, e.g., United States v. Stein, 424 F. Supp. 2d 720, 723 (S.D.N.Y. 2006) (“While the
prosecution’s disclosure obligation in some circumstances may extend to materials beyond the
knowledge of the individual prosecutors assigned to a case, it does not extend to the collective
knowledge of the entire United States government or even to the entire government agency
concerned.”); see also Locascio, 6 F.3d at 949 (refusing to impute to Assistant U.S. Attorneys
knowledge of reports prepared by FBI agents who were “uninvolved in the investigation or trial
of the defendants”).

        Menendez’s remark that the prosecutors on this case and the officials who may have
received the requested documents are all employed by the Department of Justice (Def. Ltr. 2) is
both true and legally irrelevant. The “Department of Justice alone has thousands of employees,”
Quinn, 445 F.2d at 944, and courts routinely and properly refuse to impute knowledge across
components of the Department of Justice. See, e.g., United States v. Avenatti, No. 19 Cr. 374
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(JMF), 2022 WL 457315, at *9 (S.D.N.Y. Feb. 15, 2022) (“This [prosecution team] rule applies
not only to other federal agencies, but also to other offices within the Department of Justice,
including other United States Attorney’s Offices.” (citing cases)); United States v. Morgan, 302
F.R.D. 300, 306-07 (S.D.N.Y. 2014) (“[T]he extent of any aid the FBI employees provided was
limited to the content of their communications with the prosecutors. The Court is not persuaded
that the entire FBI, or even the entire Nuclear DNA Unit at the FBI Laboratory, thus became part
of the prosecution team, and therefore, there is no reason to impute to prosecutors knowledge of
any evidence in the possession of the FBI as a whole or the Nuclear DNA Unit relating to LCN
DNA testing.”); United States v. Noel, No. 19 Cr. 830 (AT), 2020 WL 12834537, at *4 (S.D.N.Y.
June 9, 2020) (even though the Bureau of Prisons (“BOP”) “is a component of the Department of
Justice . . . that fact standing alone is not sufficient to make the BOP an arm of the prosecution”).

        But even leaving aside the scale or nature of the agency or component of the government,
instead of “bureaucratic proximity,” as Menendez appears to suggest is the standard, the Second
Circuit has held that “‘the relevant inquiry is what the person did, not who the person is.’” United
States v. Hunter, 32 F.4th 22, 37 (2d Cir. 2022) (quoting Stewart, 433 F.3d at 298) (emphases in
original); cf. United States v. Ghailani, 687 F. Supp. 2d 365, 372 (S.D.N.Y. 2010) (holding that,
in the context of a speedy trial motion, other members of the Department of Justice who were
involved in making decisions about timing and progress of the case were part of the “government”
for Rule 16 purposes).

       As the foregoing precedents recognize, the factors relevant in determining whether an
agency or a component of an agency are part of the prosecution team, and therefore their records
are deemed to be in the “possession” of the Government, include whether the agency or
component: “(1) participated in the prosecution’s witness interviews, (2) was involved in
presenting the case to the grand jury, (3) reviewed documents gathered by or shared documents
with the prosecution, (4) played a role in the development of prosecutorial strategy, or (5)
accompanied the prosecution to court proceedings.” Middendorf, 2018 WL 3956494, at *4.

        Menendez, who bears the burden on his motion, has made no showing that any of those
factors are applicable to the Department of Justice employees in charge of reviewing and/or
making recusal determinations—i.e., any of those individuals to whom Official-3 may have
transmitted information. Nor can he. The individuals who the Government understands are in
charge of advising on recusal determinations with respect to United States Attorneys are part of an
entirely different office of the Department of Justice, based in Washington, D.C., which does not
prosecute cases—the Executive Office for United States Attorneys (“EOUSA”). See Department
of Justice, EOUSA: Mission and Functions, https://www.justice.gov/usao/eousa/mission-and-
functions. No employee from EOUSA participated in the prosecution’s witness interviews, was
involved in presenting the case to the grand jury, played a role in the development of prosecutorial
strategy, approved the bringing of this case, approved search warrants or other forms of
investigative legal process, approved the Indictment (or any prior indictment in this case),
participated in meetings regarding how to bring this case, prepared the prosecution for or
accompanied the prosecution to court proceedings—or took any other step that is akin to anything
even remotely suggestive of being a part of the prosecution team. While certain members of the
United States Attorney’s Office for the Southern District of New York previously exchanged a
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limited number of emails with EOUSA regarding, as is relevant to Menendez’s motion, the reasons
for Official-3’s recusal from the Daibes matter (which emails did not attach any correspondence
sent to or from Official-3), even if the Court were to assume arguendo that this brief email
exchange amounts to a review of relevant documents gathered by or a sharing of documents with
the prosecution team (which it does not), see Middendorf, 2018 WL 3956494, at *4, none of the
other factors is even close to present. 2

        In addition, this Court should reject Menendez’s conclusory assertion that the Government
has “purely for tactical reasons” “elected to keep” the requested documents “in the hands of DOJ
employees outside of this District.” (Def. Ltr. 2). The prosecution team here has not “elected to
keep” the requested documents (if they exist) in any particular place or in the hands of any
particular persons. The prosecution team here has never seen the documents, and has had no say
where or with whom they reside. In any event, the settled case law about the scope of the
Government’s discovery obligations is not overcome simply by a defendant complaining that a
prosecution team may “pick and choose what information it requests from other agencies and
offices.” United States v. Ingarfield, No. 20 Cr. 146 (RA), 2023 WL 3123002, at *7 (S.D.N.Y.
Apr. 27, 2023) (internal quotation marks omitted); see also id. (rejecting argument that U.S.
Attorney’s Office for the Eastern District of New York and FBI were part of prosecution team
because they participated in certain interviews, remarking “although it may have been prudent for
the government to seek to learn more about a critical cooperating witness in its case, it was not
obligated to do so”).

       In sum, the prosecution team does not possess the documents Menendez requests
(assuming they exist). On this basis alone, the motion should be denied.

       III.    The Requested Documents, to the Extent they Exist, are Not Exculpatory or
               Material

       Menendez’s motion also fails to set forth any reasonable basis to believe that the documents
sought are either exculpatory or material to preparing his defense under Rule 16. Therefore, the
documents are not discoverable for this second, independent reason.

        As an initial matter, Rule 16(a)(2) expressly exempts from discovery, except as governed
by 18 U.S.C. § 3500, statements made by prospective government witnesses. Accordingly, to the
extent that Menendez seeks witness statements, as he appears to do, Rule 16 is not a proper basis
to do so.

       In any event, Menendez’s assertion that that the content of what Official-3 told the
Department of Justice about Official-3’s recusal is purportedly exculpatory or material to the
preparation of his defense is not sufficient, by itself, to require production. See, e.g., United States
v. Walker, No. 96 Cr. 736 (HB), 1997 WL 327093, at *2 (S.D.N.Y. June 12, 1997) (“To establish
a showing of materiality, a defendant must offer more than the conclusory allegation that the

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 These emails are not discoverable at this stage for all the reasons set forth in Section III, below,
and also because they are internal government documents made in connection with investigating
or prosecuting the case, and thus expressly exempted by Rule 16(b)(2).
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requested evidence is ‘material.’”). Menendez states that the reasons Official-3 communicated to
the Department of Justice “have nothing to do with [] Menendez,” and then goes on to claim that
“if, as we expect, the Documents omit any reference to [] Menendez or any discussions he may
have had with Official-3, it would critically undermine the government’s theory and bolster []
Menendez’s defense case.” (Def. Ltr. 2). But this is a non sequitur—the Indictment does not
allege that Menendez was the basis for Official-3’s recusal and the Government does not intend to
so argue at trial. Indeed, there is no reason to expect that Official-3 would have mentioned
Menendez in his communication(s) to the Department of Justice regarding recusal, much less in a
manner that would assist Menendez. To the contrary, the Indictment alleges that Official-3 told
Menendez that he might have to recuse himself “as a result of a matter he had handled in private
practice involving DAIBES,” not because of Menendez. (Indictment ¶ 47). It plainly would thus
not “undermine the government’s theory” if Official-3 communicated to the Department of Justice
the information relating to the matter he had handled in private practice, which then resulted in
Official-3’s recusal. Indeed, that is precisely the Government’s theory.

        Menendez’s arguments that the information Official-3 provided to the Department of
Justice in connection with recusal is somehow exculpatory, despite its expected consistency with
the Indictment, are illogical. Menendez claims that the documents are purportedly helpful to him
because he “expected Official-3 to recuse himself for the very reasons [he] suspect[s] are outlined
in the Documents” (Def. Ltr. 2). However, the basis upon which Menendez contemporaneously
expected Official-3 to recuse does not depend on what reasons Official-3 separately communicated
to the Department of Justice. In short, the claim that Menendez “expected Official-3 to recuse
himself” depends on what Menendez was told about the likelihood of Official-3’s recusal, not on
what the Department of Justice was told in one or more separate communications to which
Menendez was not party and of which he had no contemporaneous knowledge. 3 And
fundamentally, to the extent that any communications between Official-3 and the Department of
Justice relating to recusal were consistent with what Official-3 told Menendez—which is precisely
what Menendez says he expects—documentation of those communications does not go to any
disputed issue because any such evidence would be entirely consistent with both the Government’s
theory and, it appears, Menendez’s. Any such materials are thus neither exculpatory nor material
to the preparation of a defense under Rule 16. See, e.g., United States v. Maniktala, 934 F.2d 25,
28 (2d Cir. 1991) (“Materiality means more than that the evidence in question bears some abstract
logical relationship to the issues in the case. There must be some indication that the pretrial
disclosure of the disputed evidence would have enabled the defendant significantly to alter the
quantum of proof in his favor.” (internal quotation marks omitted)).

       Rather than being in any way exculpatory, the only respect in which the requested
documents could potentially be relevant is in a speculative attempt to seek to obtain materials that
might impeach one or more of the Government’s potential witnesses. If Menendez believes that
the content of what Official-3 communicated to the Department of Justice is in some way
inconsistent with statements that witnesses may make at trial (although Menendez does not explain

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 The Indictment, of course, sets forth ample reason to believe that Menendez expected Official-3
would not recuse himself (see, e.g., Indictment ¶¶ 49, 53.f) prior to his appointment, as the
Government expects to establish at trial.
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why he may so believe), that would amount, at most, to impeachment material. The Government
intends, consistent with its longstanding practice, to provide witness statements and potential
impeachment material in the prosecution team’s possession at an appropriate time in advance of
trial. Menendez is not entitled to such material, if any, now.

       Accordingly, Menendez’s motion should be rejected for this separate reason as well.

                                                   Respectfully submitted,

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                                                   United States Attorney

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